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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

Marc Thompson, et al.,                    §
      Plaintiffs,                         §
                                          §
v.                                        §        CIVIL ACTION NO. 4:15-cv-02464
                                          §
Capstone Logistics, LLC, et al.,          §
      Defendants.                         §

                                      ORDER

       It is hereby ORDERED that Plaintiffs’ Motion for Leave to File a Reply to

Defendants’ Response in opposition to their Motion for Partial Summary Judgment

[Doc. # 187] is GRANTED. It is further ORDERED that Plaintiffs are hereby granted

leave of Court to file a Reply to Defendants’ Response in opposition to their Motion for

Partial Summary Judgment with fourteen (14) days of the entry of this Order.



       SIGNED in Houston, Texas, this ______ day of ___________________, 2017.




                                                  MELINDA HARMON
                                              UNITED STATES DISTRICT JUDGE
